                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 CONCORD MUSIC GROUP, INC., et al.,

        Plaintiffs,
                                                 Case No. 3:23-cv-01092
 v.
                                                 Chief Judge Waverly D. Crenshaw, Jr.
 ANTHROPIC PBC,                                  Magistrate Judge Alistair E. Newbern

        Defendant.


                                            ORDER

       On January 22, 2024, the parties filed a notice stating they have met and conferred

regarding the timing and scope of Defendant’s preliminary injunction discovery production and

ask that the telephone conference regarding that discovery set on January 23, 2024, be cancelled.

(Doc. No. 78). The motion is GRANTED.

       The telephone conference set on January 23, 2024 (Doc. No. 65), is CANCELLED.

       It is so ORDERED.



                                                    ____________________________________
                                                    ALISTAIR E. NEWBERN
                                                    United States Magistrate Judge




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